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VOLUME: II
PAGES: 1 — 163
EXHIBIT: 1 — 4

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

C.A. NO. 1:20-cv-10484-GAO

 

EDWARD SULLIVAN, HEATHER SULLIVAN,
DOE CHILD 1, DOE CHILD 2, DOE CHILD 3 and
DOE CHILD 4,

Plaintiffs,

vs.

THE TOWN OF WALPOLE, MA, WALPOLE POLICE
DEPARTMENT, CHIEF JOHN F. CARMICHAEL, JR.,
OFFICER ANDREW KIEWLICZ, DET. MICHAEL BENNER,
DET. SGT. RICHARD KELLEHER, OFFICER THOMAS
HART, DET. KYLE GRIFFIN, OFFICER MATTHEW CROWN,
AND OTHER NAMES UNKNOWN TO THE PLAINTIFFS
AT THIS TIME, WALPOLE SCHOOL DEPARTMENT,
VICE PRINCIPAL LEE TOBEY, AND OTHERS AS YET
UNKNOWN TO THE PLAINTIFES,

Defendants.

 

CONTINUED REMOTE DEPOSITION OF EDWARD S.
SULLIVAN, taken on behalf of the Defendants, pursuant
to the applicable provisions of the Massachusetts
Rules of Civil Procedure, appearing remotely before
Kristin L. Tucker, Notary Public and Certified
Shorthand Reporter within and for the Commonwealth of
Massachusetts, appearing remotely, on February 22,
2022, commencing at 10:00 a.m., as follows:

TUCKER COURT REPORTING, INC.
130 Hemlock Drive
Norwell, Massachusetts 02061

(888) 852-DEPO

 

 
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1 released. The in between | do remember. | would say 1 I'm going to do is I'll just mark this as Exhibit 1.
Z probably my best estimation within that holding area 2 (Exhibit No. 1 was marked for
3 would have been 45 minutes or so. 3 identification.)
4 Q. Okay. Did anyone come and speak to you 4 MS. DAVIS: I'm not going to play
5 while you were in the holding cell? 5 the whole thing for you, because that would take a
6 A. | believe it would have been Benner, 6 very long time, but what | want to do is | want you to
7 Officer Benner, and there was another one | can't 7 identify who it is that you see in the video. It's
8 pronounce his name, Kiewicz. It's in the suit as 8 just going to take me a second.
9 well. And one of them -- I'm sorry. Yes. Do you 9 All right. What I'm going to do is I'm
10 want me to go on? 10 going to share my screen so we can all look at the
11 Q. Yeah, so were you in the holding cell when 11 same thing together and see if -- Hold on just a
12 they approached you? 12 second.
13 A. Yes. They said do | want to make -- you 13 (Video playing.)
14 know, get this cleared up? Do | want to make a 14 BY MS. DAVIS:
15 statement? Something along those lines. 15 Q. Do you see what's in front of -- Do you see
16 Q. Okay. And both Kiewlicz and Benner both 16 the video on your screen?
17 asked you that; is that right? 17 A. (Witness viewing video.) | do.
18 A. Yeah. | believe Benner might have been the 18 Q. I'm going to see if the sound is working,
19 one. | can't remember which one, but then they both 19 because sometimes | don't get this right.
20 were in when they interrogated me. They were both in 20 Can you hear that?
2d the interrogation room. 21 A. Yes.
22 Q. Up until that point, were you able to call 22 COURT REPORTER: I'm sorry, Katie.
23 anybody? 23 Do you want me to take the audio down? | don't know
24 A. No. 24 if I'll be able to.
Page 18 Page 20
1 Q. Okay. 1 MS. DAVIS: No. No. You don't
2 A. | don't think | was charged yet or booked. 2 have to take the audio down. | just want to have him
3 Q. Okay. So | know that your interrogation, 3 identify for the record, and I'll put in the time
4 the police interrogation was video recorded. Do you 4 stamps just so we're all on the same page.
5 remember that? 5 BY MS. DAVIS:
6 A. Dolremember that it was? Yes. | assume. 6 Q. So for the record, | have Exhibit 1, which
7 Q. Soldo have the video of your interview 7 is the video interview of Mr. Edward Sullivan. The
8 with the police. | can just pull it up, just so you 8 time stamp at the bottom says 16:59:52. Beginning at
9 can identify the individuals, if that's okay. 9 4:59, so almost five o'clock in the afternoon; does
10 Before | do that, did you make any 10 that sound about right, Mr. Sullivan?
11 statements regarding the allegations before you got 11 A. Yeah.
12 into that interview room? 12 Q. And does this look like the interview room
13 A. Absolutely. | said, | didn't do this. 13 that you went into?
14 This is obviously some kind of mistake. Yeah, 14 A. think so. Yeah.
15 something along those lines. 15 Q. And I'm just going to forward it -- Well,
16 Q. Okay. And did anyone say anything to you 16 you know what I'll do, I'll play and then I'll stop it
L7 in response before you got into the interview room? LF once | see the individuals involved, and I'll just
18 A. Something maybe along the lines of, you 18 have you identify who appears on the video.
19 know, Let's talk this out; let's clear this up. You 19 I'm just going to pause it right here. For
20 know, and that was pretty much probably it. 20 the record, it's played at one minute and 15 seconds
21 Q. Okay. Was there any questioning outside of 21 in.
22 that interview room? 22 Mr. Sullivan, could you identify the
23 A. Not that | can recall. 23 individuals that you see so far on the screen here?
24 MS. DAVIS: All right. So what 24 A. I think that's Patrolman Kiewlicz here, and

 

 

 

 

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. the one standing, that might be Benner. 1 (Exhibit No. 2 was marked for
2 Q. Okay. So the officer in the blue sweater, 2 identification.)
3 you believe to be Detective Benner? 3 BY MS. DAVIS:
4 A. I belive so. 4 Q. I'll zoom out a little bit, if| can. So
5 Q._ And the officer -- And then there's a blue 5 this is the first page. It's a PDF. It's two pages.
6 Under Armour sweatshirt; is that you? 6 And it's been previously provided to your attorney.
7 A. That's right. 7 It's Bates stamped D199 and D200.
8 Q. And do you see there's an officer in the 8 So just going on the first page, do you
9 hallway that brought you to the door; do you know who 9 recognize what this document is?
10 that is? 10 A. (Witness reviewing document.) Is that the
Li A. {don't recall. 11 Miranda rights?
12 Q. Okay. So I'm just going to play it. 12 Q. Is that your signature that's there where
13 I'm just going to pause it there ata 13 it says, "Sign: Edward Sullivan 10/24/18"? It looks
14 minute and 38 seconds. Detective Benner indicated 14 like 2:20 p.m.; does that sound right?
15 that before they talked to you, they would have to 15 A. 2:20 p.m.?
16 read you your Miranda rights; is that right? 16 Q. | think that's what that says, but I...
17 A. Yup. 17 A. That doesn't seem accurate, though, because
18 Q. Do you remember going through your Miranda 18 on that date, | wasn't home at 2:20.
19 rights and signing off that you would talk to the 19 Q. Okay.
20 officers without an attorney? 20 A. The time's wrong.
21 A. Atthe time, yeah, | do. 21 Q. Is this your signature here?
22 Q. Okay. I'm going to stop sharing now. | 22 A. That is my signature. That would have been
23 may bring that up again later, but for now, we'll just 23 the day of the incident, correct?
24 go with that. 24 Q. This says 10/24/18. Yeah. I'm not asking
Page 22 Page 24
1 So as you indicated, before you got into 1 if, you know -- Do you remember signing this document
2 the interview room, you don't recall anyone 2 at all?
3 questioning you; is that correct? 3 A. |remember them giving me something to sign
4 A. Nothing formal like that, | don't believe. 4 a couple of times. Sure.
5 Q. Okay. Maybe: Do you have to use the 5 Q. Okay.
6 bathroom? Stuff like that. 6 A. And under the -- you know, Oh, we want to
7 A. Yeah. And Ido recall me, you know, saying 7 clear this up.
8 | didn't do what they're — | didn't do it. It must 8 And | was like, Yeah. I've got nothing to
9 be a mistake here. 9 hide. I'll sign that.
10 Q. Okay. 10 But those times are wrong.
11 A. | actually -- and | don't even know if 11 Q. Okay. And you said that you were -- when
12 it's, you know, too much CSI or whatever, but | was 12 you were pulled over, did someone read you your
13 like, I'll take a lie detector test. And kind of in 13 Miranda rights?
14 hindsight looking at that, it's probably silly, but 14 A. | believe when they said | was under
15 that's how sure | was that there was something not 15 arrest, | believe. | believe they did. Yes.
16 right happening here. 16 Q. Did anyone ask you to sign anything on the
17 MS. DAVIS: Sure. Okay. I'm just 17 side of the road there?
18 going to pull up the -- you indicated a couple of 18 A. No.
19 times — not a couple of times. You indicated that 19 Q. Okay.
20 there were — you had been read your Miranda rights. 20 A. Not that -- No. I don't think so.
21 i'm going to pull up what I'll mark as Exhibit 2. 21 Q. Okay. I'm going to show you the second
22 It's a two-page document. I'm going to share it on my 22 page of Exhibit 2. So there's what looks like a --
23 screen and just see if you recognize either one of 23 maybe a disk that's, you know, photocopied over a
24 these documents. 24 document here.

 

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1 our house, but they were all there or getting there 1 the next thing that you remember? Did you sleep in
2 after the DCF had gone through our home. 2 the jail cell?
3 Q. Did anyone from DCF come speak to you? 3 A. No. Ididn't. They said | could do —
4 A. No. Not then. 4 could get bail - not bail. | guess it would be bail.
5 Q. Okay. 5 I'm not quite sure what it's called, but basically
6 A. No. They didn't. They talked to my 6 someone would come out, the magistrate maybe, and they
7 mother-in-law, Heather, all the children, | would 7 sign something and I'd give them $40. | think it was
8 imagine the school and all the police officers and 8 40 or $50. I don't recall.
9 nobody talked to me about it. 9 | do remember the officer saying -- | asked
10 Q. Okay. Do you recall your wife ever saying 10 if | could write a check, because | didn't think I had
Ll that ale had bruising on her face? 11 enough cash in my wallet, and they said, No, |
12 A. She — When the police had talked to me, 12 couldn't write a check.
13 they said that @MMIB had two black eyes. And when 13 | guess that makes sense, so then I'm not
14 Heather had gotten Shawne. she said she didn't have 14 sure if | paid it. | must have paid it or Heather
15 two black eyes, that she had like a small bruise under 15 maybe.
16 her -- | guess it would have been her right cheek. 16 Q. Atany point in time did anyone tell you
de? She had a small bruise. 17 they had to wait for like morning hours for you to see
18 And, you know, GMa would wear a lot of 18 a magistrate?
19 make up. She obviously was upset. I'm sure there was 19 A. No.
20 a lot of mascara running. I'm not excusing that from 20 Q. Okay.
21 being inaccurate, but, you know, it might have 21 A. No. I don't think so, because the
22 appeared that she had two black eyes. But we actually 22 magistrate came out there like whatever time it was
23 had her checked out by a doctor the very next day, and 23 that night.
24 we actually have the physical report fram Dr. Cohn and 24 Q. Okay. So you saw the magistrate that
Page 34 Page 36
1 also Dr. Orlando at Walpole Pediatrics who, in their 1 night?
2 medical opinions, said there wasn't two black eyes 2 A. That's right.
3 there. And that was after -- that was about 12 3 Q. Okay.
4 o'clock on it would have been October 25th, and we 4 A. Whenever the six hours was up, | believe.
5 have that paperwork as well. 5 And I'm saying six hours. I'm not positive of the
6 The next day, we asked the Walpole 6 law. It could have been four hours. I'm not sure,
t representative, Officer Madden, if he would take a 7 but whatever the law stated, is what they kept me.
8 picture of GE to confirm that she actually did not 8 Q. Okay. So for that period of time between
9 have two giant black eyes, as was erroneously 9 the time you spoke to your wife Heather on the phone
10 reported, and he refused to do that at the courthouse. 10 and the time you saw the magistrate for bail, were you
11 Q. After you -- I'll kind of loop back around 11 in the holding cell the whole time?
12 again to the following morning. 12 A. Yes.
13 After you spoke to Heather, what's the next 13 Q. Okay. And where did you see the
14 thing you remember happening? 14 magistrate?
15. A. Well, they said that | would have to sit in 15 A. I guess at the counter right outside the
16 the jail cell for the next, | believe it was, six 16 jail cell.
17 hours. That would be because of the nature of what 17 Q. Okay. Got it. Do you remember what
18 they said | did that they could hold me for six hours, 18 magistrate you saw?
19 | believe. 19 A. | don't recall.
20 Q. Okay. 20 Q. In addition to paying that 40 or $50, do
21 A. I'm not sure if that was six hours from, 21 you recall any other conditions of bail?
22 you know, point zero, like when they arrested me or if 22 A. | believe they -- Well, | know they said |
23 it was after | was booked or whatever. 23 couldn't go home.
24 Q. Okay. So you were held, and then what's 24 Q. Did they say for how long you could not go

 

 

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1 home? 1 A. Given name, yes.
2 A. They said, | believe, until | went to 2 Q. Okay. Got it. And those four
3 court. I'd have to go to court. 3 grandchildren are all minors, | assume?
4 Q. Gotit. Okay. After you saw the 4 A. Yes.
5 magistrate -- And do you know if someone paid that 5 Q. Or were at the time anyway?
6 money immediately or did you have to wait a little bit 6 A. That's right.
7 longer? 7 Q. Do any of those minors go to school with
8 A. | don't think I had to wait. 8  @@JEE or went to school with aA?
9 Q. Okay. So after you saw the magistrate, 9 A. Yes.
10 were you released? 10 Q. Does she have two boy cousins going to
11 A. Yeah. Thereabouts, yeah. 11 school with her?
12 Q. Okay. And where did you go when you were 12. A. She has a female and a male cousin —
13 released? 13 Q. Okay.
14 A. Heather picked me up, my wife Heather. 14 A. - who would be about the same age as her.
15 Q. And where did you go? 15 One's a year younger and one's a year older, | guess.
16 A. | went to my car. 16 Q. Allright. | assume you -- Did you sleep
17 Q. It was in that parking lot, you said? 17 at Brenda's house then?
18 A. Yup. It was still there. 18 A. I did.
19 Q. And then what did you do? 19 Q. Okay. And what's the next thing that you
20 A. | went to my mother-in-law's house to 20 did the following morning? Just so we're on the same
21 sleep, and Heather went to the house and just grabbed 21 page, it was October 25th, 2018.
22 clothes and a suit, and yeah. 22 A. Sol probably woke up about 4:30 in the
23 Q. Do you recall approximately what time you 23 morning and got up, shaved, put a suit on. Heather
24 were released? 24 came over probably about seven, | guess, 7:30.
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1 A. | want to say ten or eleven, somewhere in 1 Q. And where did you go? Did you leave the
2 there. Eleven maybe. But, again, | don't want to be 2 house then?
3 tied down to those times. | don't recall exactly what 3 A. Yes.
4 time it was, but it was about. 4 Q. And where did you go?
5 Q. Sure. So it was in the evening. | guess | 5 A. We went to - We stopped at Dunkin’ Donuts
6 was mostly curious, you know, was it four o'clock in 6 on 1A in Walpole, and then we went to the courthouse.
7 the morning? 7 She got something. | didn't get anything at Dunkin’
8 A. No. No. 8 Donuts --
9 Q. Atnight? Okay. 9 Q. Okay.
10 A. No. It was probably around ten or eleven 10 A. -- if that's important.
iL at night. 11 Q. Did you go to the courthouse? Is this the
12 Q. Gotit. Okay. Allright. So you spent 12 district courthouse?
13 the night with your mother-in-law. What's your 13 A. | believe that's what it is. It's in
14 mother-in-law's name? 14 Wrentham.
15 A. Brenda O'Reilly. 15 Q. In Wrentham, you said?
16 Q. Does she live alone or does she live with 16 A. That's right.
17 someone else? ey Q. And do you know why you had to go to the
18 A. She lives with -- She has her four 18 courthouse that day?
19 grandkids from my sister-in-law. 19 A. Yeah. | had to.
20 Q. Is she their guardian? 20 Q. What was the purpose of going to the
21 A. Sheis. And, actually, her name -- We call 21 courthouse that morning?
22 her Brenda. Her name is Madeline, but she goes by 22 A. So they were charging me with assault or --
23 Brenda. 23 | forget what it was, actually, but basically hurting
24 Q. So Madeline is her legal name? 24 my daughter.

 

 

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1 Q. Okay. Were you there for your arraignment; 1 Q. You didn't have to go in there you said?
2 does that sound right? 2 A. No. | was in kind of an anteroom where |
3 A. Well, they were going to -- that was the -- 3 just remember there was a couple of copy machines
4 Yeah. | guess that's what it would be. 4 there.
5 Q. At that point in time, you had already been 5 Q. Who was in the anteroom with you?
6 charged by the police, correct? 6 A. It was Heather, my wife, Gillie, Tara,
7 A. The police charged me, yes. Walpole 7 George.
8 Police, yeah. 8 Q. Okay. And you waited in the anteroom the
9 Q. Could you say that again? I'm sorry. | 9 whole time?
10 didn't hear that. 10 A. Yeah. | was there. | believe. | believe
11 A. | said the Walpole Police charged me. Ad | was -- | think | had to check in maybe in a
12 Q. Do you recall what time your arraignment 12 different office when | first got there so that they
13 was? 13 knew that | was there.
14 A. | want to same nine, nine-ish. And | think 14 Q. Okay. At any point in time, did
15 it's just kind of a roll call kind of thing where they 15 Mr. Hardiman leave the courtroom -- or not leave the
16 call people up or, you know, but they weren't able to 16 courtroom -- leave the anteroom to go into court?
17 arraign me. They didn't arraign me. 17 A. [don't think so. | think he was talking
18 Q. Did you have your attorney there with you? 18 to the district attorney, but | don't believe so, but
19 A. Did | have Bob with me? 19 | also don't know.
20 Q. Did you have Mr. Hardiman? 20 Q. Do you know who the district attorney was
21 A. Mr. Hardiman. I'm sorry. Yes. Yes. 2d. that you talked to?
22 Q. And you said -- How long did you have to 22 A. |donot. No.
23 wait for your arraignment? 23 Q. Was it a male or female?
24 A. I'mnot sure. Again, they didn't arraign 24 A. I'mnot sure.
Page 42 Page 44
1 me, though, but we were there, I'd say, for about 1 Q. What, if anything, did Mr. Hardiman say in
2 three hours that morning. 2 the anteroom when Sie and ere in the room?
3 Q. Okay. 3 MR. GRIFFIN: Objection.
4 A. And my daughter*@& came as well with my 4 MS. DAVIS: Well, privilege
5 sister-in-law Tara. 5 wouldn't apply if QR and dilllillRewere in the room,
6 Q. You said with your sister-in-law Tara? 6 because there's no attorney-client privilege, so it
7 A. Yes. Tara. Yes. We named my Waiter 7 would be waived at that point in time.
8 her. Yeah. 8 MR. GRIFFIN: Note my objection.
9 Q. Is it Tara Robertson? 9 MS. DAVIS: Will you permit
10 A. Robinson. 10 Mr. Sullivan to answer that question?
V1. Q. Robinson. Okay. 11 MR. GRIFFIN: If you remember.
12 Is she the sister-in-law whose children £2 A. Could you repeat the question, please?
13 live with Brenda? 13 Q. Sure. What, if anything, did Mr. Hardiman
14 A. No. She is not. 14 sayin the anteroom when @iiiiliand i} were in
15 Q. Okay. So it's your wife's other sister 15 there?
16 then? 16 A. Nothing as far as the case, | mean, as far
dl, A. Yes. She has two sisters. 17 as, you know, like what had happened to her or
18 Q. Does Tara live in Walpole as well? 18 anything like that. He didn't say — you know,
19 A. She does not. She lives in Plymouth. 19 just — He was like, Hey, how's it going? How are you
20 Q. And you said that you were there for three 20 guys doing? Is everybody okay?
21 hours, but you were not arraigned. Did they ever call 21 But there wasn't any kind of — that I'm
22 your name or call your case up at all? 22 aware of, that | can remember, with them in the room.
23 A. Idon't believe so. | didn't have to go in 23 Q. Okay.
24 there. 24 A. It was very generic, | guess you would call

 

 

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1 other -- anything else he's involved in that pertains 1 Okay. That letter from Dr. Schembri, did
2 to children being interviewed for criminal cases, 2 you bring that with you to court?
3 anything like that? 3 A. I don't believe | did. You know, we gave,
4 A. I'mnot sure. Like you mean like a group? 4 you know, just documents that -- you know, to be like,
5 Q. Yeah. Do you know if he's a part of any 5 hey, this is -- in our defense, like, hey, we're
6 particular organization that interviews children that 6 not -- I'm not a child abuser or, you know, like |
7 were witnesses of crime or victims of crime? 7 guess we gave it to our attorney.
8 A. I'mnotsure. | think so. | think he's 8 Q. Did you ever see any documents from the DA
9 part of like an advocacy group, sure. 9 about your case at all?
10 Q. Okay. So when you said Mr. Hardiman was 10 A. No. And I don't know if they exist. |
il going to work with @® was it in that capacity or 11 mean, | just didn't see anything.
12 as her attorney? 12 Q. That's fine. I'm more interested in what
13 A. | think if anything else needed to happen, 13 you know.
14 as far as -- You know, if -- You know, you had 14 After the case was dropped, did you ever
15 mentioned earlier if someone needed to talk to her or 15 havea follow-up conversation with SS about her
16 anything like that. 16 story about the bunk bed?
17 Q. Okay. 17 A. After the case was dropped? No. | don't
18 A. We found that in this case, | guess, we 18 believe so. | mean, | don't think we talked -- |
LO learned a little too late, but, like, it's better to 19 mean, we could have. You know, it was an important
20 have an attorney represent you from the beginning. Or 20 part of our lives. | mean, this is pretty impactful
21 whether it's needed, you know, better to have it and 21 to our family.
22 not need it than need it and not have it. 22 You know, and we ended up moving Maile
23 Q. Okay. So what happened when you got to 23 downstairs. We finished the room down there for her
24 court on November 28th? 24 and all, so that she could have her space. And we did
Page 90 Page 92
1 A. I checked in. And then | went in and the 1 move the room around while we were, you know,
2 district attorney's office -- What's it called? | 2 temporarily kind of taking care of that downstairs.
3 don't know. They declined to press any kind of -- 3 Q. Have you ever spoken to di about her
4 arraign me or press any kind of charges against me. 4 explanation for that bruise on her eye?
5 Q. Do you hear anyone speak in the court about 5 A. Yeah. She thought -- That particular bed,
6 your case? 6 it basically had four posts. | don't know what they
i A. Just my attorney. 7 call it. It's the heavy, heavy, heavy wood furniture.
8 Q. Do you know what your attorney said in open 8 But anyways, it had four posts, and she had a metal
9 court? 9 water bottle on the post. And she -- Her brother had
10 A. No. | think it -- | want to say the 10 jumped through -- Like she had a regular bed, and then
FL district attorney spoke first and we just agreed. 11 her brother had gotten up and she thought that he
12 Q. Does the name Sean Early (phonetic) sound 12 bumped into her bed and the water bottle might have
13 familiar? 13 fallen off and hit her.
14 A. Sean Early? 14 You know, and she -- | asked her, | was
15 Q. The DA, does that sound familiar? 15 like, Well, was it full? Was it plastic?
16 A. It doesn't, but if you say that's the DA at 16 She said, No. It was a metal water bottle,
17 the time, then sure. 17 and it had water in it.
18 Q. Okay. And do you recall what the DA said 18 And I'd say the post was -- Like if this
19 in open court? 19 was the bed, it would probably be, | don’t know, a
20 A. That they weren't going to -- that they 20 foot and a half up, maybe a little bit more.
21 basically, | guess, were throwing it out. And, again, 21 Q. Did you ever suspect hata was lying
22 in legal terms, I'm not sure what they call it. 22 to you about the water bottle explanation?
23 Q. Sure. I'm just curious what you remember 23 A. {don't think so. | mean, why would she
24 of what was said in open court. 24 lie?

 

 

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L, here right now, is it really because we're suing you L The other thing | wanted to follow up was
2 guys? 2 any photographs that Mrs. Sullivan or (MR may have
3 And, you know, the cop didn't appreciate it 3 of her face kind of before and after, you know, around
4 or say that, but I'm sure they're all aware of it or 4 that time period.
5 you know... 5 MR. GRIFFIN: I'll speak with
6 Q. That's an assumption, right? You don't 6 Mrs. Sullivan.
7 have -- 7 MS. DAVIS: Yeah. If possible,
8 A. | don't have proof of that. No. 8 I'd just like to see them before | speak to Silke for
9 MS. DAVIS: Okay. Mr. Sullivan, | 9 her deposition.
10 don't have any other questions for you. | just have a 10 And then I think | said if Heather could
11 couple of things that | wanted to ask your attorney LL just be prepared with Attorney Kelley's address or
12 about, but | don't have any other questions for you. 12 full name or something.
13 | don't know if your attorney has questions 13 MR. GRIFFIN: I'll get that for
14 for you for the record at all? 14 you. I can get that.
15 MR. GRIFFIN: No. 15 MS. DAVIS: Perfect.
16 MS. DAVIS: Okay. Then 16 THE WITNESS: Let me see if she's
17 Mr. Griffin, the only thing | wanted to bring up is a 17 texted me back.
18 couple of documents, just some supplemental record 18 MS. DAVIS: And just if there were
19 requests. 19 any other files that Mr. or Mrs. Sullivan have kind of
20 One, | think the school releases won't 20 responsive to those requests? | know Mr. Sullivan
2. encompass any records from TECCA, because it's not 21. indicated that they had a file, so to the extent that
22 part of the Walpole School District. | have Walpole 22 any of their files are not contained in the
23 School District and then | have Blessed Sacrament. | 23 defendants' document production, | would just ask that
24 don't think | saw one for TECCA. | could be mistaken 24 you provide those.
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L but... 1 And then the last thing is | think we owe
2 MR. GRIFFIN: | thought that 2 the Court a status report on maybe Wednesday or
3 TECCA -- | thought TECCA was a -- like they were a 3 Thursday, so | can type one up for us, but | think
4 contract agency for the Walpole School Department. | 4 that's it.
5 thought they would be encompassed in Walpole. If 5 MR. GRIFFIN: All right. I'm
6 they're not, I'll provide those releases for you when 6 going to need an extension of time to do the
7 Mrs. Sullivan gets here. 7 depositions as well.
8 MS. DAVIS: That's fine. My guess 8 MS. DAVIS: Yeah. We can talk --
9 is if it's kind of like an independent charter, the 9 MR. GRIFFIN: I'll file a motion
10 school district probably does not maintain their 10 for an extension of time.
11 records for them. 11 MS. DAVIS: Okay. And then you
12 THE WITNESS: Yeah. That probably 12 had also indicated you did not think thatgijgjijpwas
13 makes sense. 13 going to be able to do her deposition?
14 MR. GRIFFIN: That could be my 14 MR. GRIFFIN: Yeah.
15 mistake, because | assumed that since Walpole -- they 15 MS. DAVIS: Okay. We can talk off
16 were taking these children at the behest of the 16 the record about what to do about that.
17 Walpole School Department, | assumed that Walpole V7 Okay. And then tomorrow it's both boys; is
18 would keep a record of what the child's academic and 18 that right?
19 attendance records were and so forth. 19 MR. GRIFFIN: Yeah.
20 MS. DAVIS: | thought it was an 20 MS. DAVIS: |sqililild or
21 online school with the school district, but it sounds 21 going to go -- Who's going to go first?
22 like it functions more like a charter school, and not 22 MR. GRIFFIN: Whatever works for
23 that it's a charter school, but it sounds like they 23 you.
24 probably have their own organization. 24 MS. DAVIS: It doesn't make a

 

 

 

 

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